Case 8:19-cv-00685-ADS Document 22 Filed 12/03/20 Page 1 of 1 Page ID #:3460



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  8                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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 10   MONICA RENEE KUMAR,                      )   Case No.: 8:19-cv-00685-ADS
                                               )
 11                 Plaintiff,                 )   ORDER AWARDING EQUAL
                                               )   ACCESS TO JUSTICE ACT
 12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                               )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
      Commissioner of Social Security,         )   U.S.C. § 1920
 14                                            )
                    Defendant                  )
 15                                            )
                                               )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $5,500.00 as
 20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
 21   awarded subject to the terms of the Stipulation.
 22   DATE:       12/3/2020
 23                              ___________________________________
                                       /s/ Autumn D. Spaeth
                                 THE HONORABLE AUTUMN D. SPAETH
 24                              UNITED STATES MAGISTRATE JUDGE
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